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                                                       September 25, 2020


Hon. Paul A. Engelmayer
United States District Judge
United States District Court
Southern District of New York
40 Foley Square
New York, New York 10007

                       Re:     United States v. Ramon Lizardi, 11-CR-1032-55 (PAE)


Dear Judge Engelmayer:

        On August 26, 2020, the Court received a pro se motion for compassionate release
pursuant to 18 U.S.C. § 3582(c)(1)(A)(i) from Ramon Lizardi, which followed the denial of his
administrative request for relief from within his institution.1 On August 27, the Court
appointed me to represent Mr. Lizardi in connection with his motion. For the reasons that
follow, I respectfully urge the Court to grant Mr. Lizardi’s motion for compassionate release
and to order his immediate release.


    A. Introduction

       Ramon Lazardi was arrested on January 16, 2013 for his participation in a racketeering
enterprise, namely the Bronx Trinitarios Gang (BTG). See Pre-Sentence Report (PSR),
Exhibit F, at p. 3; ¶¶ 1-4.2 Mr. Lizardi was detained at his arraignment, and has remained
incarcerated ever since. On April 16, 2014, Mr. Lizardi pled guilty to a superseding
information, charging him with racketeering conspiracy and engaging in the activities of the
racketeering enterprise between 2004 and 2006, including his participation in the murder of
Miguel Perez in 2005. The government agreed that a four-point minimal role reduction was
appropriate for Mr. Lizardi’s role in the murder. Id. at ¶ 4. On December 17, 2014, the Court
imposed a prison term of 121 months, the bottom of the applicable guideline range. See ECF
No. 1570 (Judgment).

       Mr. Lizardi has now served 92 months of that 121 month sentence. Because of credit
for good time, he is scheduled to be released (according to the www.bop.gov website) on

1See ECF Doc. No. 2513, Exhibits C, D. Moreover, Mr. Lizardi recently received notice from the BOP
Regional Office, denying his appeal of the Warden’s decision. Accordingly, the administrative
exhaustion requirement of the statute has been met and this motion is timely.
2Exhibit numbers continue from where they left off in Mr. Lizardi’s pro se petition. Moreover, the PSR
will be redacted in the public filing of this memorandum.
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September 11, 2021. Moreover, Mr. Lizardi has been told by his case manager that he will be
released to a half-way house on March 15, 2021. Accordingly, Mr. Lizardi has completed the
vast majority of his sentence and is likely to be released, even under normal conditions, in the
spring of 2021.

        Yet, as the Court is well aware, current conditions are anything but normal. There has
been an unprecedented change of circumstances that could not have been foreseen at the time of
sentencing. The COVID-19 pandemic, as well as the dangerous conditions for its spread
within prisons, now pose an extraordinary and perhaps lethal risk to Mr. Lizardi’s health.
Public health experts unanimously agree that the virus thrives in densely packed populations
and is especially aggravated in unsanitary conditions where people are unable to practice social
distancing, proper hand-washing, and sanitizing. In the short time since reporting its first
COVID-19 infection, the BOP has seen an explosion of cases among inmates and staff.

       Although Mr. Lizardi is fortunate enough not currently to suffer from any underlying
medical conditions that is known to increase the severity of the virus, the mere fact of his
confinement in a correctional institution exacerbates the likelihood that he will catch the virus,
which, as we all know, carries with it grave risks.

        These changed circumstances, combined with Mr. Lizardi’s commendable efforts at
rehabilitation, are “extraordinary and compelling” so as to warrant compassionate release under
18 U.S.C. § 3582(c)(1)(A)(i) and modification of his original sentence. The changed
circumstances also materially alter the balance of the 18 U.S.C. § 3553(a) factors, which this
Court is to consider anew in the context of an application for compassionate release. While Mr.
Lizardi’s crime remains as serious as the Court deemed it in 2014, keeping him in prison for a
few extra months in conditions that potentially jeopardize his life is a punishment this Court
surely never intended to impose, and is far “greater than necessary” to achieve the purposes of
sentencing. See 18 U.S.C. § 3553(a). Mr. Lizardi has a concrete plan for reintegration into
society, which includes returning to the home he shared with his sister and her family in the
Bronx. See PSR at ¶ 167. Allowing Mr. Lizardi to finish out his sentence at home is the
prudent and humane response to the risks created by the novel coronavirus.


    B. COVID-19 Presents Extraordinary and Compelling Circumstances

        At this point in time, the Court is well aware of the dangers associated with the
coronavirus epidemic, and its particular impact on prison populations. As the Court has stated
itself:

       The COVID-19 pandemic is extraordinary and unprecedented in modern times
       in this nation. It presents a clear and present danger to free society for reasons
       that need no elaboration. The crowded nature of federal prisons presents an
       outsize risk that the COVID-19 contagion, once it gains entry, will spread. For
       these reasons, in the past several months, numerous courts, including this one,
       have ordered the temporary release of inmates held in pretrial or presentencing
       custody and, in more limited instances, the compassionate release of inmates
       serving federal sentences.
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United States v. Benjamin, 15-Cr-445(15) (PAE) (Sept. 15, 2020), ECF Doc. 1144, at 4
(Decision granting compassionate release).

        Indeed, the COVID virus has gained entry into Fort Dix FCI, the correctional
facility where Ramon Lizardi is incarcerated. According to the BOP’s own website,
COVID tests were performed on 455 inmates (out of a jail population of 2356), with 34
inmates testing positive for the virus. The site also states, at a different location, that
there is currently one positive inmate at Ft. Dix, while 36 inmates and 6 staff have
recovered. See https://www.bop.gov/coronavirus/ .3 Moreover, Mr. Lizardi reports that
as of September 24, a medical staff member just tested positive, and there is a plan to
transfer inmates from Elkton FCI to Fort Dix on Monday, September 28. Elkton, as the
Court may know, has been the site of one of the worst COVID outbreaks in the country.
According to the BOP website, over 950 inmates tested positive there, and 9 died of the
virus. Id. See also https://www.fox19.com/2020/07/15/more-than-covid-cases-ohio-federal-
prison-health-officials-say/. The introduction of inmates from Elkton FCI would further
increase the risks to those incarcerated at Fort Dix.

        At Fort Dix, Mr. Lizardi lives in a 12-man room, with inmates sleeping in six bunk beds
less than 4 feet from each other. It is impossible for Mr. Lizardi to take the most basic
precautions, such as social distancing. He is deeply afraid that it is only a matter of time until
the virus reaches his room and dorm through an infected staff member or inmate.

       As the Second Circuit held just today,

       the First Step Act freed district courts to consider the full slate of extraordinary
       and compelling reasons that an imprisoned person might bring before them in
       motions for compassionate release. Neither Application Note 1(D), nor anything
       else in the now-outdated version of Guideline § 1B1.13, limits the district court’s
       discretion.

United States v. Zullo, __ F.3d __ (2nd Cir. Sept. 25, 2020), 19-3218-cr at 18. In light of the
circumstances described above, the Court should join other courts in the Southern District and
deem the dire threat posed by the coronavirus to those in prison, especially to those
incarcerated in facilities where the virus has taken hold, to be “extraordinary and compelling”
under 18 U.S.C. § 3582(c)(1)(A)(i). See e.g. United States v. Ozols, No. 16-Cr-692 (JMF) at 2
(SDNY June 2, 2020) (“as numerous courts have concluded, the threat of COVID-19 to those in
prison constitutes an extraordinary and compelling reason for compassionate release.”); United
States v. Pena, No. 15-CR-551 (AJN), 2020 WL 2301199, at *4 (S.D.N.Y. May 8, 2020) (“As this
Court has explained, the COVID-19 pandemic presents an extraordinary and unprecedented
threat to incarcerated individuals.”).

        While an initial wave of compassionate release applications properly focused on those
inmates who are elderly or have critical health problems, it has not been enough. As has been
recognized by policy makers and courts, the urgent and unprecedented national emergency
facing our country requires that the prison population be reduced as much as possible, in a
manner consistent with public safety. See e.g. Joint Statement from Elected Prosecutors on

3Like much about the BOP, this incongruence is puzzling. If 34 inmates tested positive, how could 36
have recovered?
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Covid-19 and Addressing the Rights and Needs of Those in Custody (Mar. 25, 2020),
https://fairandjustprosecution.org/wp-content/uploads/2020/03/Coronavirus-Sign-On-
Letter.pdf (joint letter issued by District Attorneys’ offices across the country arguing that
because prisons can “become breeding grounds for the coronavirus,” it is crucial to “work
together to implement concrete steps in the near-term to dramatically reduce the number of
incarcerated individuals and the threat of disastrous outbreaks.”); Memorandum from the
Attorney General to the Director of the Bureau of Prisons re: Prioritization of Home
Confinement As Appropriate in Response to COVID-19 Pandemic (Mar. 26, 2020),
https://www.politico.com/f/?id=00000171-1826-d4a1-ad77-fda671420000. It is vital that the
BOP – and where it fails to do so, the courts – modify the sentences of other inmates as well.
Mr. Lizardi, who has served more than 90% of his sentence, who poses no threat to the
community, is precisely the sort of inmate who merits release, and must be released if the goal
of substantially reducing the risk of infection in the prisons and surrounding communities is to
be achieved.


       C. The 18 U.S.C. § 3553(a) Factors Weigh in Favor of Release

         A court may “reduce the term of imprisonment” after finding that “extraordinary and
compelling reasons warrant such a reduction” and taking into account “the [sentencing]
factors set forth in section 3553(a) to the extent that they are applicable.” 18 U.S.C. §
3582(c)(1)(A)). The legislative purpose of § 3582(c) was to create “safety valves for
modification of sentences” and Congress contemplated that the decision of whether “there is
justification for reducing a term of imprisonment” would reside with the sentencing court,
given that the traditional body that would consider such modification – a parole board – had
been abolished in the federal system. S. Rep. No. 98-225, at 56, 121 (1983).

        Given the present circumstances, releasing Mr. Lizardi a few months before his
scheduled release date would be consistent with the sentencing imperatives in 18 U.S.C. §
3553(a). For example, the public no longer needs to be protected from Mr. Lizardi, and it has
not needed that protection for a long time. In 2007, when he was released from prison for a
state offense, Mr. Lizardi renounced his gang membership, criminal activity as a whole, and
commenced a life devoted to work and family – for more than five years before his arrest on this
case. All parties conceded this unusual turn away from crime,4 and it played a significant role in
the Court’s consideration of the § 3553(a) factors:

          For the same reason the Section 3553(a) factor, the 3553(a) interest in what is
          called incapacitation or public protection, is modest. I cannot say, given the
          crimes that you have committed, that you will pose no -- zero -- risk to the
          public when your term of incarceration ends. But, given that you lived peaceably
          in society for some five years leading up to your arrest in this case, the risk to
          society by your being at liberty is far less, again, than the risk presented by the
          release of other former Trinitarios members. So, I give that factor limited weight
          in my analysis.

Sentence Transcript at 39, ECF Doc. No 1600.

4   See Sentencing Transcript, at 20-21, ECF Doc. No. 1600.
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         For seven years prior to sentencing, Mr. Lizardi had demonstrated to the Court that he
was on a righteous path, worked hard, and was committed to full rehabilitation. Despite Mr.
Lizardi’s violent activities between 2004 and 2006, the Court imposed a bottom of the
guidelines sentence because it recognized the great strides Mr. Lizardi had made to right his
life. Id.at 44; see also ECF Doc. No. 1411 (Lizardi Sentencing memorandum, and attached
exhibits, including social history report).

        Ramon Lizardi has continued his rehabilitative efforts since his incarceration in January
2013. He obtained his GED at the MCC in 2013, and has continuously taken classes offered in
the BOP. See Exhibit G, Lizardi BOP Progress Report. Although Mr. Lizardi received four
disciplinary write-ups during the course of nearly 8 years of incarceration,5 they appear to have
been for minor infractions, and the BOP rates his “institutional adjustment [as] favorable.” Id.
at 2. He has also maintained work assignments throughout his time in the BOP, and “has
consistently earned average or above average work evaluations during this period of
incarceration.” Id. at 1.

       Prison is hard, especially for a former gang member who is trying to stay on the
straight and narrow. Mr. Lizardi has succeeded where many others have failed. He has made
the most out of his time in prison, has kept his eye on the prize, and has prepared himself both
emotionally and practically for his reintegration into society.

        Fortunately, Mr. Lizardi has the family support to aid him in that process. For the
years before his arrest, Mr. Lizardi lived with his older sister, Francheska, in the Bronx. She
was a single mom, and he, having no kids of his own, helped raise her daughter. As the Court
acknowledged at sentencing, Francheska wrote a moving and compelling letter to the Court on
behalf of her brother detailing the innumerable ways in which he helped and supported her. See
Sentence Transcript at 43-44, ECF Doc. No 1600. The letter is worth reading again, and it is
attached as Exhibit H. Mr. Lizardi was also very close with his older sister Kayla. Indeed, he
served as an invaluable support system in her struggle to raise her son, who was born with
brain damage that prevented him from eating or walking on his own. Until his tragic death in
2014, her son required care around the clock, which Mr. Lizardi frequently provided. See
Sentence Transcript at 42, ECF Doc. No 1600.

       Mr. Lizardi was always there for his two sisters and their kids before his arrest, and
they are here for him now. When he is released, he will return to live with Francheska and her
daughter at the same apartment in the Bronx where the family has lived for decades. He is
determined to obtain his CDL license and to find work in commercial trucking in order to
support both himself, and to provide financial support to his family. The variety of classes he
has taken inside the BOP have inspired him to continue his education on the outside, and Mr.



5As the Court is undoubtedly aware, avoiding disciplinary write-ups entirely while in prison is
exceedingly difficult, just given the sheer number of rules and regulations that must be followed, as well
as the power imbalance and discretion guards have over inmates that can result in a “shot” for miniscule
offenses, perceived or real, from some guards and not others. The important take-away from Mr.
Lizardi’s disciplinary record is the fact that there are no allegations of violence, drugs, or other serious
misconduct, and he has not been docked any good time.
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Lizardi is committed to further educate himself in his effort to rejoin society as a productive
member.

        In sentencing Mr. Lizardi nearly six years ago, the Court weighed his violent past
against his demonstrated efforts to change his life in the years prior to his arrest, concluding
that a sentence at the bottom of the guideline range was reasonable under 18 U.S.C. § 3553(a).
But we are now at a different stage, with a whole host of new facts and circumstances to
consider, including the misery Mr. Lizardi has had to endure since March, including
lockdowns, strict confinement, fear, and anxiety. I am not asking the Court to substantially
reduce Mr. Lizardi’s sentence. I am asking for him to be released a few months before his
scheduled release date to (1) prevent the possibility of him contracting COVID-19 due to the
increased risks present in correctional institutions, and (2) because the § 3553(a) factors now
weigh heavily in favor of release. While six months or so may not seem like much, the
possibility of a “second wave” of COVID infections sweeping the country is real, and will, once
again, most directly impact those in confined spaces, such as prisons. See e.g.
https://www.washingtonpost.com/health/coronavirus-fall-projections-second-
wave/2020/09/04/6edb3392-ed61-11ea-99a1-71343d03bc29_story.html It is hard to see
what societal interests could be served by insisting that Mr. Lizardi finish the last few months
of his sentence in light of the very real risks he faces, and the very real benefits he could offer to
his family if released.

      For these reasons, I respectfully urge the Court to grant Mr. Lizardi’s motion for
compassionate release.

       Thank you very much for your consideration.

                                                       Respectfully submitted,

                                                              /s/

                                                       Florian Miedel
                                                       Attorney for Ramon Lizardi




cc:    AUSA Marguerite Colson (ECF)
       Clerk of Court (ECF)
